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AO 98(Rev. 12/11) Appearance Bond



                                      United States District Court ■
                                                                     for the                                I I Mfly-6 2019                I; I



                                                      Eastern District of Virginia                        (|
                   United States of America                                                               L..„:            ■ ■ ■■—
                                 V.

                                                                                 Case No. 1 * 17-cr-295
               Abdirizak HagI Raghe Wehelle

                             Defendant


                                                          APPEARANCE BOND


                                                          Defendant's Agreement

I,                 Abdirizak HagI Raghe Wehelle                          (defendant), agree to follow every order of this court, or any
court that considers this case, and 1 further agree that this bond may be forfeited if I fail:
              ( X )         to appear for court proceedings;
              ( X )         if convicted, to surrender to serve a sentence that the court may impose; or
              ( X )         to comply with all conditions set forth in the Order Setting Conditions of Release.
                                                                 Type of Bond

(     ) (1) This is a personal recognizance bond.

( X ) (2) This is an unsecured bond of $ 20,000.00                                              •

(     ) (3) This is a secured bond of $                                                 > secured by:
         (     ) (a) $                                , in cash deposited with the court.

         (     ) (b) the agreement ofthe defendant and each surety to forfeit the following cash or other property
                  (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                  ownership and value):



                  If this bond is secured by real property, documents to protect the secured interest may be filed of record.
         (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety)'.




                                                     Forfeiture or Release of the Bond

 Forfeiture ofthe Bond. This appearance bond may be forfeited if the defendant does not comply with the above
 agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
 security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
 may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
 interest and costs.
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